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 5
 6   Attorney for Plaintiff: Meryl Pomponio

 7
                                   UNITED STATES DISTRICT COURT
 8

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION
11    ERYL POMPONIO,                                      Case No.:
12
                          Plaintiff,              COMPLAINT BY MERYL POMPONIO
13                                                AGAINST COAST TO COAST MOTORS,
      V.                                          INC., et al., FOR DAMAGES AND
14
                                                  INJUNCTIVE RELIEF RESULTING FROM
15    OAST TO COAST MOTORS, INC., as an VIOLATIONS OF 1) TITLE III OF THE
     ntity and doing business as "Coast to Coast AMERICANS WITH DISABILITIES ACT OF
16     otors", 21854 MISSION, LLC, and DOES 1-50, 1990; 2) THE UNRUH CIVIL RIGHTS ACT;
     nclusive,                                    and 3) THE CALIFORNIA DISABLED
17
                                                  PERSONS ACT.
18                        Defendants.                     [42 U.S.C. §§ 12101-12213; Cal. Civ. Code§§ 51,
19                                                        52, 54, 54.1, 54.2 and 54.3.]
20
21
            Comes now the Plaintiff, MERYL POMPONIO, (hereafter, "Ms. Pomponio" or "Plaintiff')
22
     through her Attorney, DANIEL MALAKAUSKAS, 7345 South Durango Drive, Suite B-107-240, Las
23
24   Vegas, NV 89113; Telephone: (866) 790-2242; Facsimile: (888) 802-2440; who, having been denied

25   her civil rights, hereby respectfully alleges, avers, and complains as follows:

26
27               THIS COURT CAN GRANT JUSTICE TO A DISABLED INDIVIDUAL
28

        COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
                                                 RELIEF

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 1            1.       Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 2
     Syndrome. Due to Mrs. Pomponio's medical condition, Mrs. Pomponio is unable to walk and is
 3
     confined to using a mobility device to complete her day to day activities.
 4
              2.       In April 2018, Ms. Pomponio was denied the full and equal access to a public
 5
 6   accommodation located at 21872 Mission Boulevard, Hayward, CA 94541.

 7            3.      Ms. Pomponio now asks that this Court stand up for her rights under the Americans with
 8
     Disabilities Act ("ADA"), the Unruh Civil Rights Act ("UCRA") and the California Disabled Persons
 9
     Act ("CDP A").
10
11
      THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA,
12      OAKLAND DIVISION, HAS JURISDICTION AND IS THE PROPER VENUE FOR
                           PLAINTIFF TO SEEK JUSTICE
13
14            4.      The United States District Court has original federal question jurisdiction over this action

15   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) and (a)(4), for violations of the Americans with
16   Disabilities Act, 42 U.S.C. §§ 12101, et seq. This Court has supplemental jurisdiction over all state
17
     claims, including, but not limited to, claims under the Unruh Civil Rights Act, Cal. Civ. Code § 51, et
18
     seq., and/or the California Disabled Persons Act, Cal. Civ. Code §§ 54-55.3, pursuant to 28 U.S.C. §
19
20   1367 as such acts not only expressly incorporate the Americans with Disabilities Act, but such state

21   law claims also arose from the same nucleus of operative facts or transactions.
22            5.      Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) as the claims alleged herein
23
     arose in the Northern District, specifically at the real property located at 21872 Mission Boulevard,
24
     Hayward, CA 94541.
25

26            6.      The Oakland Division of the Northern District of California, is the proper division

27   because all claims herein arose at the real property located at 21872 Mission Boulevard, Hayward, CA
28   94541.

        COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1                                THE VICTIM AND THOSE RESPONSIBLE
 2
             7.      Ms. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 3
     Syndrome. Due to Mrs. Pomponio's medical condition, Mrs. Pomponio is unable to walk and is
 4

 5
     confined to using a mobility device to complete her day to day activities.     Ms. Pomponio is therefore

 6   a "person with a disability" and a "physically disabled person" and has a "disability" or "medical

 7   condition" pursuant to the rules and regulations of the ADA, specifically 42 U.S.C § 12102 and Cal.
 8
     Civ. Code§§ 51 and 54.
 9
            8.       Defendants, COAST TO COAST MOTORS, INC., and Does 1-50 (hereafter,
10
     collectively or individually, "Tenant"), operate as a business establishment, hold themselves out to the
11

12   public, and do business as "Coast to Coast Motors" at 21872 Mission Boulevard, Hayward, CA 94541,

13   and have substantial control over the interior and exterior of the building, the parking lot, and all spaces
14
     adjacent to such building.
15
            9.       Defendants, 21854 MISSION, LLC, and Does 1-50 (hereafter, collectively or
16
     individually, "Landlord", in their commercial real estate investment, owner, or landlord capacity), own,
17
18   operate, manage, and have substantial control over the real property, including the interior and exterior

19   of the building, parking lot and all spaces adjacent to the buildings located at 21872 Mission Boulevard,
20
     Hayward, CA 94541.
21
             10.      Defendants, Does 26-50, are individuals, businesses, organizations, or entities which
22
     entered into a contract with Defendants, Tenant, Landlord, and/or Does 1-50, as property managers or
23
24   franchisees for the real property and adjacent parking lot, and as such have substantial control over the

25   real property located at 21872 Mission Boulevard, Hayward, CA 94541.
26
             11.      The true names and capacities of the Defendants named herein as Does 1-50, inclusive,
27
     whether individual, corporate, partnership, association, or otherwise, are unknown to Plaintiff who
28

         COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1   therefore sues these Defendants by such fictitious names. Plaintiff requests leave of court to amend this
 2
     complaint to allege their true names and capacities at such times as they are ascertained.
 3
             12.    Plaintiff is informed and believes and thereon alleges that each of the Defendants,
 4
     including Does 1-50, caused and are responsible for the below described unlawful conduct and
 5

 6   resulting injuries by, among other things, personally participating in the unlawful conduct or acting

 7   jointly or conspiring with others who did so; by authorizing, acquiescing in or setting in motion
 8
     policies, plans or actions that led to the unlawful conduct; by failing to take action to prevent the
 9
     unlawful conduct; by failing and refusing with deliberate indifference to Plaintiffs rights to equal
10
     access to public spaces; and by ratifying the unlawful conduct that occurred by agents, and officers or
11

12   entities under their direction and control.

13
14                    MS. POMPONIO WAS DENIED EQUAL ACCESS TO A
               PUBLIC ACCOMMODATION AND NOW FIGHTS FOR ALL DISABLED
15
             13.    Ms. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
16
17   Syndrome. Due to Mrs. Pomponio's medical condition, Mrs. Pomponio is unable to walk and is

18   confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a "person

19   with a disability" and a "disabled person" and has a "disability" or "medical condition" pursuant to
20
     federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104.
21
             14.    In April 2018, Ms. Pomponio desired to go to and use the services, and/or buy products
22
23   at "Coast to Coast Motors" which is located at 21872 Mission Boulevard, Hayward, CA 94541.

24           15.    While in the parking lot adjacent to, surrounding, or while inside the business "Coast to
25   Coast Motors", Ms. Pomponio personally encountered barriers that interfered with her ability to use
26
     and enjoy the goods, services, privileges and accommodations offered by the facilities. Specifically,
27
     while visiting the business establishment, Ms. Pomponio had difficulty as there was no accessible
28

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 1   parking stall or access aisle. This caused Ms. Pomponio difficulty as not only did she not know where
2
     to park but the limited available open parking areas made it difficult to enter and exit her vehicle. In
 3
     addition, tl_ie restroom failed to be accessible to Ms. Pomponio in her wheeled device given its
4
     dimensions furthering Ms. Pomoponio's troubles.
 5

 6           16.    Despite Ms. Pomponio' wish to patronize the businesses in the future, the above-

 7   mentioned barriers constitute deterrents to access to the business, rendering the business' goods,
 8
     services, facilities, privileges, advantages, and accommodations unavailable to physically disabled
 9
     patrons such as herself.
10
             17.    Ms. Pomponio alleges, on information and belief, that Defendants knew that such
11

12   barriers existed and that Defendants' failure to remove the barriers was intentional as the particular

13   barriers mentioned above were intuitive and obvious. Additionally, Defendants exercised control and
14
     dominion over the condition of the real property and building and had the financial resources to remove
15
     such barriers. Furthermore, Ms. Pomponio alleges, on information and belief, that such modifications
16
     were readily achievable as removal of the above barriers could have been achieved without much
17
18   difficulty or expense.

19           18.    Ms. Pomponio brings this lawsuit to encourage Defendants to ensure their property is
20
     accessible to all.
21
22                                         FIRST CLAIM
23                               VIOLATION OF TITLE III OF THE ADA
                                        (As to all Defendants)
24
             19.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
25

26   allegation contained in all prior and subsequent paragraphs.

27           20.     The parking lot and building at the real property known as 21872 Mission Boulevard,
28   Hayward, CA 94541, is owned, controlled, operated, leased, and managed by Defendants: Tenant,

         COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
                                                  RELIEF

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 1   Landlord, Does 1-50, or their agents. The business "Coast to Coast Motors", including their parking
2
     lot, are open to the general public and as such is a "public accommodation" under 42 U.S.C. § 12181
3
     and 28 C.F.R. § 36.104.
4
            21.     Pursuant to 42 U.S.C. § 12182(a), by owmng, leasing, or operating the public
5

6    accommodation known as "Coast to Coast Motors", Defendants are prohibited from discriminating

 7   against Plaintiff by denying her, on the basis of her disability, the full and equal enjoyment of the goods,
 8
     services, facilities, privileges, advantages, or accommodations offered by the facilities.
 9
            22.     In order to avoid discriminating against a disabled individual pursuant to 28 C.F .R. §
10
     36.101 and§ 36.102, Defendants must ensure that such public accommodation is designed, constructed,
11

12   and altered in compliance with the accessibility standards established by 28 C.F.R. § 36.101 et seq.,

13   and have proper policies, practices, and procedures to ensure that individuals with disabilities are
14   afforded equal access to the full and equal enjoyment of the goods, services, facilities, privileges,
15
     advantages, or accommodations offered by the public accommodation. 42 U.S.C. §§ 12181(9),
16
     12182(b)(2)(A)(iv) and (v), 12183(a)(l) and (2).
17
18           23.    Ms. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic

19   Syndrome. Due to Mrs. Pomponio's medical condition, Mrs. Pomponio is unable to walk and is
20   confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a "person
21
     with a disability" and a "disabled person" and has a "disability" or "medical condition" pursuant to
22
     federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104. While at
23
24   the interior, exterior, parking lot, or adjacent spaces, of the business known as "Coast to Coast Motors",

25   Plaintiff personally encountered a number of barriers that interfered with her ability, to use and enjoy

26
     the goods, services, privileges and accommodations offered at the facility.
27
28

         COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1          24.     Specifically, Defendants failed to ensure that such real property was equally accessible
 2
     to individuals with disabilities and medical conditions by having the following barriers at the real
 3
     property:
 4

 5                  a.     The alleged unauthorized vehicle signage is not posted in a conspicuous place at

 6                         the entrance to off-street parking or immediately adjacent to on-site accessible
 7
                           parking and visible from each parking space in violation of2013 CBC l lB-502.8
 8
                           and 2016 CBC 1 lB-502.8;
 9
                    b.     There are no accessible routes provided within the site from accessible parking
10

11                         spaces and accessible passenger loading zones, public streets and sidewalks, and

12                         public transportation stops to the accessible building or facility entrance they
13
                           serve in violation of 1991 ADAAG 4.3.2(1), 2010 ADAS 206.2.1, 2013 CBC
14
                           11B206.2.1 and 2016 CBC 1 lB-206.2.1;
15
                    C.     The accessible route connecting accessible buildings, accessible facilities,
16

17                         accessible elements, and accessible spaces on the same site does not appear to be

18                         provided in violation of1991 ADAAG 4.1.2 (2), 2010 ADAS 206.2.2, 2013 CBC
19
                           1 lB-206.2.2 and 2016 CBC 1 lB-206.2.2;
20
                    d.     There is no accessible parking space and access aisle provided in violation of
21
                           1991 ADAAG 4.6.3, 2010 ADAS 208.1, 2013 CBC 1 lB-208.1 2016 CBC l lB-
22
23                         208.1;

24                  e.     There is no accessible parking space identification signage provided in violation
25
                           of 1991 ADAAG 4.6.4, 2010 ADAS 502.6, 2013 CBC l lB-502.6 and2016 CBC
26
                           1 lB-502.6;
27

28

        COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1             £.      The is no alleged accessible parking space "VAN ACCESSIBLE" designation
 2
                       signage in violation of1991 ADAAG 4.6.1, 2010 ADAS 502.6, 2013 CBC llB-
 3
                       502.6, 2016 CBC 1 lB-502.6;
 4

 5             g.      The identification fails to have "MINIMUM FINE $250" signage in violation of

 6                    2013 CBC 1 IB-502.6.2, 2016 CBC 1 IB-502.6.2;
 7
               h.     There is a change in level within the required maneuvering clearance in front of
 8
                      the door in violation of 1991 ADAAG 4.13.6, 2010 ADAS 404.2.4.4, 2013 CBC
 9
                      1 lB-404.2.4.4 and 2016 CBC 11B404.2.4.4;
10

11             I.     The Tactile Exit signage is not provided in violation of 1991 ADAAG
12                    4.1.3(16)(a), 2010 ADAS 216.4.1, 2013 CBC 1 lB-216.4.1 and 2016 CBC l lB-
13
                      216.4.1;
14
               j.     The public restroom is not accessible in violation of 1991 ADAAG 4.22, 2010
15

16                    ADAS 213.1, 2013 CBC 1 lB-213.1 and 2016 CBC 1 lB-213.1;

17             k.     The restroom door hardware requires tight grasping, pinching, or twisting of the
18
                      wrist to operate in violation of 1991 ADAAG 4.13.9, 2010 ADAS 404.2.7, 2013
19
                      CBC l lB-404.2.7 and 2016 CBC 1 lB-404.2.7;
20
               1.     The restroom door opening has a width that is less than thirty-two inches (32")
21

22                    in violation of 1991 ADAAG 4.13.6, 2010 ADAS 404.2.3, 2013 CBC llB-

23                    404.2.3 and 2016 CBC l lB-404.2.3;
24
               m.     The clearance around the water closet is less than sixty inches by fifty-six inches
25
                      (60" x 56") in violation of1991 ADAAG 4.16.2, 2010 ADAS 604.3.1, 2013 CBC
26
27                     1 lB-604.3.1 and 2016 CBC 1 lB-604.3.1;

28

     COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1                 n.      The flush control is not located on the open side of the water closet in violation
 2
                           of 1991 ADAAG 4.16.5, 2010 ADAS 604.6, 2013 CBC llB-604.6 and 2016
 3
                           CBC l lB-604.6;
 4

 5                 o.      The toilet paper dispenser is located less than seven inches (7") from the front of

 6                         the toilet in violation of2010 ADAS 604.7, 2013 CBC 1 lB-604.7 and 2016 CBC
 7                         1 lB-604.7;
 8
                   p.      Clear floor space is not provided at the lavatory in violation of 1991 ADAAG
 9
                           4.19.2, 2010 ADAS 606.2, 2013 CBC 1 lB-606.2 and 2016 CBC 1 lB-606.2;
10
11          25.    As a direct and proximate cause of Defendants' conduct, Plaintiff, on the basis of her

12   disabilities, was denied the opportunity to participate in or benefit from a good, service, privilege,
13
     individuals in violation of 42 U.S.C. § 12181.
14
            26.    Plaintiff seeks injunctive relief to prohibit Defendants' acts and omissions as complained
15
     of herein which have the effect of wrongfully discriminating against Plaintiff and other members of the
16

17   public who are physically disabled from full and equal access to these public facilities. Specifically,

18   Plaintiff seeks injunctive relief ensuring that Defendants modify their real property to ensure that
19   disabled persons are not discriminated against in receiving equal access to goods, services, and facilities
20
     as other more able-bodied persons.
21
22
                                         SECOND CLAIM
23                          VIOLATIONS OF CALIFORNIA CIVIL CODE§ 51
                                       (As to all Defendants)
24
25           27.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every

26   allegation contained in all prior and subsequent paragraphs.

27
28

        COMPLAlNT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1           28.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
 2
     Civ. Code§ 51(f) and§ 52(a), thus independently justifying an award of damages and injunctive relief
 3
     pursuant to California law.
 4

 5          29.     On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or

 6   benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded

 7   to other non-disabled individuals which resulted in Plaintiffs difficulty, discomfort, or embarrassment.
 8
     Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys' fees,
 9
     costs, and damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation.
10

11
                                         THIRD CLAIM
12                          VIOLATIONS OF CALIFORNIA CIVIL CODE§ 54
                                       (As to all Defendants)
13

14          30.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every

15   allegation contained in all prior and subsequent paragraphs.

16          31.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
17
     Civ. Code§ 54. l(d) and§ 54.3(a), thus independently justifying an award of damages and injunctive
18
     relief pursuant to California law.
19

20          32.    On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or

21   benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded

22   to other non-disabled individuals, which resulted in Plaintiffs difficulty, discomfort or embarrassment.
23
     Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys' fees,
24
     costs, and damages on no less than one-thousand U.S. dollars (1,000 USD) for each and every violation.
25

26

27

28

        COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
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 1                                                   PRAYER
 2
     WHEREFORE, Plaintiff prays the following:
 3
             1.     For injunctive relief directing Defendants to modify their facilities and policies as
 4

 5   required by law to comply with ADA regulations, including the ADAAG where required; institute
 6   policy to enable Plaintiff to use goods and services offered to the non-disabled public; provide adequate
 7
     access to all citizens, including persons with disabilities; issue a permanent injunction directing
 8
     Defendants to maintain their facilities usable by Plaintiff and similarly situated person with disabilities
 9

10   in compliance with federal regulations, and which provide full and equal access, as required by law;

11          2.     Retain jurisdiction over Defendants until such time as the Court is satisfied that
12   Defendants' unlawful policies, practices, acts and omissions, and maintenance of inaccessible public
13
     facilities as complained of herein no longer occur and will not recur;
14
            3.     Award Plaintiff all appropriate damages, including, but not limited to, either statutory
15
16   damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation of Cal.

17   Civ. Code§ 51, or no less than one-thousand U.S. dollars (1,000 USD) for each and every violation of

18   Cal. Civ. Code§ 54, with either Cal. Civ. Code§ 51 or§ 54 being elected prior to, or at, trial, but not
19
     both, and general damages in an amount within the jurisdiction of the Court, according to proof;
20
            4.     Award Plaintiff all litigation expenses and costs of this proceeding, and all reasonable
21
22   attorneys' fees as provided by law, including but not limited to, 42 U.S.C. § 12205, Cal. Civ. Code§§

23   52 and 54.3; and

24          5.     Grant such other and further relief as this Court may deem just and proper.
25
     Dated: Deember 161\ 2019
26
                                                                   Isl Daniel Malakauskas
27                                                                 By: DANIEL MALAKAUSKAS, of,
28                                                                 MALAKAUSKAS LAW, APC,
                                                                   Attorney for PLAINTIFF
        COMPLAINT BY POMPONIO AGAINST COAST TO COAST MOTORS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE
                                                 RELIEF

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